               Case 23-10831-MFW               Doc 1006         Filed 02/22/24        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al.,1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Diana Mauricio, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

         On February 20, 2024, I caused copies of the
             • [Customized for Rule 3001(e)(2) or 3001(e)(4)] Notice of Transfer of Claim
                 Pursuant to F.R.B.P. 3001(e)(2) or 3001(e)(4) [Re Docket No. 965]
         to be served on the parties attached hereto as Exhibit A via First Class Mail.

Dated: February 20, 2024
                                                                   /s/ Diana Mauricio
                                                                   Diana Mauricio
                                                                   KCC
                                                                   222 N. Pacific Coast Highway, 3rd Floor
                                                                   El Segundo, CA 90245
                                                                   Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
Case 23-10831-MFW   Doc 1006   Filed 02/22/24   Page 2 of 3




                    Exhibit A
                                         Case 23-10831-MFW            Doc 1006     Filed 02/22/24     Page 3 of 3
                                                                        Exhibit A
                                                               Rule 3001(e)(2) or 3001(e)(4)
                                                                Served via First Class Mail

                                                                                                    Claim     Claim     Transferred Docket   Party
    CreditorName         CreditorNoticeName           Address1            City     State    Zip    Number    Amount       Amount    Number Description
                        Attn Robert K. Minkoff, 600 Madison Avenue,
Cedar Glade LP          President               17th Floor             New York   NY       10022     98     $206,222.50 $191,945.00   965   Transferee
Technology Solutions
Anywhere LLC                                  5966 Lovewood Ct         Canton     MI       48187     98     $206,222.50 $191,945.00   965   Transferor
                                              32871 Middlebelt Rd      Farmington
Joel H. Kaufman, Esq.                         Suite 100                Hills      MI       48334     98     $206,222.50 $191,945.00   965   Notice Party




  In re Lordstown Motors Corp., et al.
  Case No. 23-10831 (MFW)                                                Page 1 of 1
